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                           UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                             Case No. 1:13-CR-65-BLW

       v.                                            ORDER

ELAINE MARTIN,

              Defendant.



       The defendant seeks to be allowed to self-surrender or to have the Court

recommend a furlough. The Court finds that 18 U.S.C. §3143(a) applies because the

defendant is awaiting “execution” of her sentence. The Court has already made the

findings under that statute that she is not likely to flee or pose a danger to the safety of

any other person or the community. The defendant shall reside at all times with her

brother Rocky Jackson in Meridian Idaho. Accordingly,

       NOW THERFORE IT IS HEREBY ORDERED, that the defendant be released

from custody in the Ada County Jail to reside with her brother Rocky Jackson in

Meridian Idaho until such time as the Bureau of Prisons designates a facility for her

surrender, at which time, upon notice, she shall immediately proceed to that facility and

self-surrender to serve her sentence.

       IT IS FURTHER ORDERED, that the defendant not get credit on her sentence for

the time she spends on this release.
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                                        DATED: January 15, 2016


                                       _________________________
                                       B. Lynn Winmill
                                       Chief Judge
                                       United States District Court
